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            EXHIBIT C
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                                                                        Confidential
                                                                Transcript of Marcos Charles                       1 (1 to 4)

                                                                Conducted on July 16, 2019
                                                                         1                                                      3
                   UNITED STATES DISTRICT COURT                               1 APPEARANCES (Continued):
2                  OR THE DISTRICT O      MASSACHUSETTS                       2 Representing the Respondents:
3                                                                             3     U.S. DEPARTMENT OF JUSTICE
4       **********************************                                          Civil Division
                                                                              4
5       LILIAN PAHOLA CALDERON JIMENEZ,
        et al.,                                                               5     Office of Immigration Litigation
6
                       Petitioners ,                                          6     Ben Franklin Station
7
        vs.                               CA NO.    : 8 CV    0225 MLW        7     PO Box 868
8
        KEVIN McALEENAN, et al.,                                              8     Washington, DC 20044
9
                       Respondents.                                           9     BY: MARY L. LARAKERS, ESQUIRE
    0
        **********************************                                    10
    2                         CON IDENTIAL
                                                                              11    E
    3         VIDEOTAPED DEPOSITION O        MARCOS CHARLES
                                                                              12 -and-
    4         WILMER CUTLER PICKERING HALE AND DORR LLP
                                                                              13    U.S. DEPARTMENT OF JUSTICE
    5                         60 State Street                                 14    United States Attorney's Office
    6                   Boston, Massachusetts                                 15    John Joseph Moakley U.S. Courthouse
    7                  July     6, 20 9   9:56 a.m.                           16
    8                                                                         17
    9                                                                         18
20                                                                            19    BY: EVE A. PIEMONTE, ESQUIRE
2                                                                             20    T
22                        Darlene M. Coppola                                  21
23                    Registered Merit Reporter                               22
24                   Certified Realtime Reporter                              23
                                                                              24
                                                                         2                                                      4
1 APPEARANCES:                                  1 APPEARANCES (Continued):
2 Representing the Petitioners:                 2 Also Representing the Respondents:
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5     Boston, MA 02109                          5     Room 425
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10 -and-                                        10
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Pages 5‒268 Omitted
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                                        Transcript of Marcos Charles                           68 (269 to 272)

                                        Conducted on July 16, 2019
                                                   269                                                    27
1     A. Oh, I don't know. It's been a while.            1        (Exhibit No. 12 marked for
2     Q. Has ICE distributed any written                 2 identification.)
3 guidance to ICE Boston employees on the POCR           3
4 review process?                                        4 BY MS. SEWALL:
5     A. No.                                             5     Q. The court reporter has handed you
6     Q. Are individuals conducting POCR                 6 what's been marked Exhibit 12.
7 reviews told what factors to consider in               7        Do you recognize this document?
8 determining whether to continue to detain              8     A. (Witness reviews document.)
9 somebody?                                              9        It's the notice for custody review.
10 A. They recommend -- they make a                      10 Q. Have you seen this document before
11 recommendation, whether to continue detention         11 today?
12 or release, and they are taught what factors          12 A. This specific document?
13 may require a continued detention or recommend        13 Q. Yes.
14 to release.                                           14 A. I don't know. Maybe. I recognize the
15 Q. Are they given any guidance on how to              15 name.
16 weigh those factors?                                  16 Q. It's Confidential PII
17 A. Not specifically.                                  17 A. Correct.
18 Q. Are they given any unspecific guidance             18 Q. And it's a notice to alien of file
19 on how to weigh those factors?                        19 custody review, correct?
20 A. No, not that I can think of offhand,               20 A. Correct.
21 other than the training that they receive at          21 Q. In the second paragraph says, "Your
22 the academy and the informal training they            22 custody status will be reviewed on or about
23 receive by experienced DOs and their SDDO.            23 November 20, 2018," correct?
24 Q. And what factors are they told to                  24 A. Correct.
                                                   270                                                    272
1 consider?                                              1      Q. It states, "You may submit any
2      A. I don't know.                                  2 documentation you wish to be reviewed in
3      Q. Are they told to consider an                   3 support of your release prior to the date
4 individual's application for I-130?                    4 listed above," correct?
5      A. I would look at that if I was the              5      A. Correct.
6 deportation officer.                                   6      Q. If you look at Exhibit 10, it's this
7      Q. But are the deportation officers               7 big spreadsheet?
8 instructed to look at that?                            8      A. Uh-huh.
9      A. I don't know.                                  9      Q. AndConfide is the fourth from the
10 Q. Are they instructed to consider                    10 bottom?      ti l PII
11 somebody's status as a Calderon class member?         11 A. Right.
12 A. For continued detention?                           12 Q. And if you go over to the column on
13 Q. Yes.                                               13 date POCR conducted and decisions, it says,
14 A. No. It is indicated within the POCR                14 "The POCR was conducted on November 1, 2018."
15 if they are a class member though.                    15        Do you see that?
16 Q. Where is it indicated in the POCR if               16     A.  It says what?
17 they're a class member?                               17 Q. It says, "The POCR was conducted on
18 A. I instructed them to put it in the                 18 November 1, 2018."
19 comments section of the POCR.                         19        Do you see that?
20 Q. Where's the comment section of the                 20 A. Yes.
21 POCR?                                                 21 Q. That is 20 days before he was told it
22 A. I can't remember which page. I don't               22 would be conducted in this notice to alien,
23 recall what page it's on.                             23 file custody review --
24                                                       24             MS. LARAKERS: Objection.
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                                           Transcript of Marcos Charles                                70 (277 to 280)

                                           Conducted on July 16, 2019
                                                     277                                                         279
1 substantial equity in the United States?                 1      A. Correct.
2     A. I don't know.                                     2      Q. He received his second custody review,
3     Q. Is status of the Calderon class member            3 post-180, on -- it looks like March 5, 2019,
4 not considered a substantial equity in the               4 correct?
5 United States?                                           5      A. Correct.
6     A. When looking at it now on Calderon                6      Q. That's, let's see, December, January,
7 class members, I would take that into                    7 February. That's over three months after --
8 consideration at this time. There was no                 8 that's about four months after his POCR was
9 class member -- there was no class defined at            9 conducted, right?
10 that time.                                              10 A. Correct.
11 Q. You're saying, because there was no                  11 Q. So that's more than 90 days after his
12 class defined when this decision to continue            12 initial POCR was conducted?
13 detention was reviewed, it -- Todd Lyons did            13 A. It appears to be.
14 not consider --                                         14 Q. Well, why didn't he receive a second
15 A. I don't know if he considered it or                  15 custody review within 90 days?
16 not. I'm just saying, based on that, if it              16 A. I don't know.
17 was me reviewing it, there was no class                 17 Q. Did ICE make a good finding -- a
18 defined, then we couldn't necessarily consider          18 finding of good cause to postpone his
19 that there was a class membership when we were          19 review?
20 looking at this.                                        20 A. I would have to look at the case.
21 Q. Did he consider the filing of an I-130               21 Q. Where would that be recorded?
22 application?                                            22 A. Most likely within the A-file.
23 A. I don't know.                                        23 Q. So Mr. Confide received a custody
24 Q. Does ICE conduct a second custody                    24 review before theti 30-days'
                                                                                  l PII    notice date that he
                                                     278                                                         280
1 review within 90 days of the first custody               1 was given -- 20 days before his 30-days'
2 review?                                                  2 notice. He was told he did not have
3     A. Yes, 180 days.                                    3 substantial equity in the United States,
4     Q. Who conducts that review?                         4 despite the fact that he's married to a U.S.
5     A. Headquarters.                                     5 citizen, and then he did not receive a second
6     Q. Do you ever conduct one --                        6 custody review after 90 days, correct?
7     A. No.                                               7             MS. LARAKERS: Objection.
8     Q. -- 180-day reviews?                               8     A. I don't know. I would have to look at
9     A. No, I have not.                                   9 the indication completely. Based on what's on
10 Q. Is it always done by headquarters?                   10 this spreadsheet, that's -- looking at the
11 A. I would say almost always. I don't                   11 spreadsheet, those are the dates that are in
12 recall doing a 180 before.                              12 here. I would have to actually look at the
13 Q. Who decides when the second review                   13 case.
14 will be conducted?                                      14 BY MS. SEWALL:
15 A. At -- I'm sorry, I don't understand                  15 Q. Well, going on these documents that
16 the question.                                           16 we have here, it appears that ICE Boston did
17 Q. Who decides when the second review                   17 not follow the POCR regulations for Mr.
18 will be conducted?                                      18 Confide is that correct?
19 A. It's at 180 days, if they're still in                19 ti l PII MS. LARAKERS: Objection.
20 custody, post-order.                                    20 A. No.
21 Q. If you look back at this Exhibit 10,                 21 BY MS. SEWALL:
22 the spreadsheet, Mr. Confide Mr. Confid                 22 Q. Why?
                           ti l review
23 received his first custody    PII       ti l
                                       on November         23 A. Because headquarters is in charge of
24 1, 2018, correct?                                       24 the 180 POCRs and anything after. We don't
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                                       Transcript of Marcos Charles                             72 (285 to 288)

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                                                   285                                                    287
1 reading that.                                          1
2     Q. Are you aware that Ms. Adducci also             2 BY MS. SEWALL:
3 testified that ICE Boston released people when         3     Q. Do you recognize this document?
4 it found violations of their POCR rights?              4     A. (Witness reviews document.)
5              MS. LARAKERS: Objection.                  5         It's the notice of file review.
6     A. No, I don't.                                    6     Q. It's for Confidential , correct?
7 BY MS. SEWALL:                                         7     A. Correct.   PII
8     Q. Who -- who decided to change to the             8     Q. Have you seen this document before
9 current policy?                                        9 today?
10 A. There hasn't been a need to. What I'm              10 A. I don't recall specifically seeing
11 saying is that if there was a POCR violation,         11 this one.
12 that would be an option. If it was a -- if            12 Q. The middle paragraph says, "Your
13 releasing the individual, based on just the           13 custody status will be reviewed on or about
14 error or violation, wasn't going to be a              14 March 12, 2019."
15 public safety or national security threat,            15        Do you see that?
16 then I don't see a problem with it. If it             16 A. I do.
17 did, then I do see a problem with it.                 17 Q. If you look back at this spreadsheet
18 Q. Okay. So that's a little different                 18 for Mr Confi it's the second to the top --
19 from what you said before.                            19 second dfrom ti the bottom?
20        Can you clarify to me what the current         20 A. Correct.
21 practice would be with respect to the alien           21 Q. For the column date POCR conducted and
22 whose POCR rights were violated?                      22 decisions --
23 A. It would be on a case-by-case basis.               23 A. Uh-huh.
24 I have to look at it and see exactly what             24 Q. -- it says, "90-day POCR conducted
                                                   286                                                    288
1 happened and if it would be a national threat          1 March 18, 2019."
2 or public safety risk to have that individual          2         Do you see that?
3 out.                                                   3     A.    Correct.
4     Q. And you said there have been know POCR          4     Q. That's four days before the review is
5 violations since you took office?                      5 noticed for, correct?
6     A. Not that I'm aware of.                          6               MS. LARAKERS: Objection.
7     Q. Have there been any POCR violations             7     A. Correct.
8 since July 2018?                                       8 BY MS. SEWALL:
9     A. I would have to check, but I don't              9     Q. Was Mr. Confi informed that his custody
10 think so.                                             10 review would take d place
                                                                                  ti early?
11 Q. You don't know?                                    11 A. I don't know.
12 A. I don't know. I don't think so.                    12 Q. Was his attorney informed that
13 Q. Who would know?                                    13 Mr. Confid custody review would take place
14 A. Acting Field Office Director -- Deputy             14 early? ti l
15 Field Office Director Todd Lyons.                     15 A. I don't know.
16 Q. You don't know if a class member's --              16 Q. Who would you ask to find out?
17 a class member in detention has undergone a           17 A. The AFOD over at custody management.
18 POCR violation since July 2018?                       18 Q. What documents would you look at to
19 A. I don't know.                                      19 find out?
20 Q. Have you looked into that?                         20 A. I would look at the A-file.
21 A. No.                                                21              MS. PIEMONTE: Excuse me, just
22                                                       22 to clarify the record, I think the spreadsheet
23        (Exhibit No. 14 marked for                     23 says March 8, not March 18th.
24 identification.)                                      24              MS. SEWALL: I think I said
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                                        Transcript of Marcos Charles                               75 (297 to 300)

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                                                    297                                                       299
1     A. Correct, which is about three -- March           1 to a second POCR review within 90 days of the
2 12, 2019.                                               2 first?
3     Q. If you could focus on my question.               3     A. It should be looked at again after --
4 All I'm asking you is: This occurred on March           4 if they're not being removed, it should be
5 8, 2019, correct?                                       5 looked at again and decide whether a POCR
6     A. Correct.                                         6 needs to be conducted or not. Because it's at
7     Q. And then we are now at July 16, 2019,            7 headquarters, I don't know the status of
8 correct?                                                8 that.
9     A. Correct.                                         9     Q. Do you know if it's required to have a
10 Q. It has been over four months since his              10 second POCR review within 90 days of the first
11 March POCR review was conducted, correct?              11 when, in the interim, an imminent removal
12 A. Correct.                                            12 notice is issued, but the person has not been
13 Q. But he has never received a second                  13 removed?
14 POCR review, correct?                                  14              MS. LARAKERS: Objection.
15            MS. LARAKERS: Objection.                    15 A. I have to look at it.
16 A. Not that I know of, no.                             16 BY MS. SEWALL:
17 BY MS. SEWALL:                                         17 Q. So you don't know one way or the
18 Q. Why has he not received a second POCR               18 other?
19 review?                                                19 A. I would have to look at the actual
20 A. He received an imminent removal                     20 statute or regulation on that.
21 notice.                                                21 Q. Does ICE still intend to remove
22 Q. Does that undercut his right to a POCR              22 Mr. Confi after July 22?
23 review -- a second POCR review within 90               23 A.d Itiwill have to look at that, but as
24 days --                                                24 far as I know, yes.
                                                    298                                                       300
1      A. Yes.                                            1     Q. And Mr. Confi is still in detention?
2              MS. LARAKERS: Objection.                   2     A. I believedhe is.
                                                                                  ti
3  BY   MS.  SEWALL:                                      3     Q. So regarding Mr. Confi it's possible
4      Q. -- of the first?                                                           d ti his POCR
                                                          4 that Boston ICE office violated
5              MS. LARAKERS: Objection.                   5 rights, correct?
6      A. Yes.                                            6               MS. LARAKERS: Objection.
7 BY MS. SEWALL:                                          7     A. I don't know. I would have to look at
8      Q. Where in the regulations does it say            8 it. I would have to look at the case. I
9 that?                                                   9 can't go off just what I have in front of me
10 A. I would have to look them up. I -- I                10 right now.
11 can't tell you, specifically.                          11 Q. So you wouldn't know, based on this
12 Q. But that's your understanding, that if              12 spreadsheet, whether there was a violation of
13 you get an imminent removal notice, and then           13 his POCR rights, correct?
14 you're not removed, you still are not entitled         14 A. Correct.
15 to a second POCR review within 90 days of your         15 Q. And of his documents that we just went
16 initial POCR review?                                   16 through --
17             MS. LARAKERS: Objection.                   17 A. Correct.
18 A. He hasn't been removed as of yet.                   18 Q. -- you don't know?
19 However, I would have to look at the case to           19 A. No.
20 find out specifically why, or what's going on          20
21 with it right now.                                     21        (Exhibit No. 16 marked for
22 Q. So my question is: If an individual                 22 identification.)
23 received an imminent removal notice after his          23
24 POCR review, then they're no longer entitled           24 BY MS. SEWALL:
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                                         Transcript of Marcos Charles                               76 (301 to 304)

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                                                    30                                                       303
1     Q. Do you recognize this document -- oh,            1         Do you see that?
2 sorry. The court reporter has handed you                2     A. I do.
3 what's been marked as Exhibit 16.                       3     Q. It looks like you have signed on
4         Do you recognize this document?                 4 behalf of Todd Lyons --
5     A. I recognize the top document.                    5     A. I did.
6     Q. Have you seen this before today?                 6     Q. -- correct?
7     A. Yes, the top page.                               7     A. Correct.
8     Q. This is a decision to continue                   8     Q. So the reason that ICE cites for
9 detention of Mr. Confid                                 9 continued detention is no significant equities
10 A. Correct. ential                                     10 within the United States, correct?
11 Q. And then if you go to the next page --              11 A. Correct.
12 or the third page, rather, you see the notice          12 Q. What does that mean in the context of
13 to alien of file custody review for                    13 Mr. Confid case?
14 Mr. Confid                                             14 A. tiI would
                                                                       l      have to look at the file to
15 A. tiI do.l                                            15 determine that.
16 Q. This states that "Custody status will               16 Q. You can't remember, as you sit here
17 be reviewed on or about March 28, 2019,                17 today?
18 correct?                                               18 A. No.
19 A. Correct.                                            19 Q. His marriage to a U.S. citizen was not
20 Q. And if you look at the spreadsheet,                 20 considered a significant equity in the United
21 seven rows down, you find Mr Confide                   21 States, correct?
22 A. Got it.                        ti l PII             22 A. It may have been. I don't -- not as a
23              MS. LARAKERS: Michaela, can you           23 significant equity, no.
24 the exhibit number for the spreadsheet?                24 Q. And this decision to continue
                                                    302                                                      304
1               MS. SEWALL: Exhibit 10.                   1 detention does not mention that he's married
2 BY MS. SEWALL:                                          2 to a United States citizen?
3      Q. And you go to the date POCR conducted           3      A. No, it doesn't.
4 and decisions. It says the POCR was conducted           4      Q. It does not mention that he has an
5 on March 27, 2019, correct?                             5 approved I-130, correct?
6      A. Correct.                                        6      A. No, it doesn't.
7      Q. Was Mr. Confid informed that his POCR           7      Q. Was that considered in determining to
                         ti l
8 review would be conducted       early?                  8 continue his detention?
9      A. I don't know.                                   9      A. It was one of the factors considered
10 Q. Was his lawyer informed that his POCR               10 if it was in the file.
11 review would be done -- conducted early?               11 Q. So if it was in the file, it was
12 A. I don't know.                                       12 considered, but if it was not in the file, it
13 Q. And if you go to the second -- if you               13 was not considered?
14 go to the first page of Exhibit 16, the second         14 A. Correct.
15 and third paragraphs state the reasons for his         15 Q. As you sit here today, you don't know
16 continued detention, correct?                          16 whether it was in the file or not?
17 A. Correct.                                            17 A. I don't recall.
18 Q. The fourth paragraph says, "Upon                    18 Q. Mr. Confid initial custody review
19 review of the facts of your case, you have                                ti l 27, 2019, correct?
                                                          19 occurred on March
20 failed to demonstrate significant equities             20 A. Correct.
21 within the United States, and thus, I have             21 Q. We're now at July 16, 2019, correct?
22 determined that you would pose a significant           22 A. Correct.
23 risk of flight if you were to be released from         23 Q. That's over three months since his
24 ICE custody."                                          24 initial custody review, correct?
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                                         Conducted on July 16, 2019
                                                    305                                                          307
1     A. Correct.                                         1
2     Q. He has not received a second custody             2         (Exhibit No. 17 marked for
3 review, correct?                                        3 identification)
4     A. Not to my knowledge, but it would be             4
5 at headquarters level.                                  5 BY MS. SEWALL:
6     Q. Do you know why he hasn't received a             6     Q. The court reporter has handed you
7 second custody review?                                  7 what's been marked Exhibit 17.
8     A. No, I don't. I do recall that there's            8         Do you recognize this document?
9 something going on with his case. I don't               9     A. (Witness reviews document.)
10 recall what it is. I just remember seeing              10        No.
11 something about it recently, and I honestly            11    Q.   This is a notice to alien of file
12 don't remember exactly what it was.                    12 custody review for Mr. Confidential
13 Q. So for Mr. Confid he received a                     13 correct?                  PII
14 custody review beforeti 30
                            l days. His continued         14 A. Correct.
15 detention decision did not mention the fact            15 Q. It states that "Your custody status
16 he's married to a U.S. citizen, and he did not         16 will be reviewed on or about February 11,
17 receive a second custody review after 90 days,         17 2019," correct?
18 correct?                                               18 A. Correct.
19             MS. LARAKERS: Objection.                   19 Q. And if you go to Exhibit 10 and you
20 A. Correct.                                            20 look at the column for Mr. Confide -- it's
21 BY MS. SEWALL:                                         21 eight rows down from the topti --l PII
                                                                                                 it says his
22 Q. So regarding Mr. Confid it's possible               22 POCR was conducted on January 25, 2019,
                                ti l the POCR
23 that ICE Boston did not follow                         23 correct?
24 regulations, correct?                                  24 A. Correct.
                                                    306                                                          308
1              MS. LARAKERS: Objection.                   1     Q. That's roughly 17 days before it was
2      A. No.                                             2 noticed for, correct?
3 BY MS. SEWALL:                                          3     A. Seventeen days -- I'm sorry?
4      Q. Why is that not possible?                       4     Q. That's roughly 17 days before it was
5      A. It's not -- there's -- if -- there              5 noticed for, correct?
6 hasn't been a POCR done by the -- for the 180,          6               MS. LARAKERS: Objection.
7 there's a reason for it. I just don't know              7     A. Correct.
8 what it is. I know there's something going on           8 BY MS. SEWALL:
9 with this case, and I don't remember what it            9     Q. Was Mr. Confide informed that his
10 is.                                                    10 review would taketiplace
                                                                                  l PII early?
11 Q. So where would you look to find that                11 A. I don't.
12 out?                                                   12 Q. Was his attorney informed that his
13 A. I would have to talk with custody                   13 review would take place early?
14 management, AFOD, and maybe headquarters to            14 A. I don't know.
15 see who's going on with his 180-day.                   15 Q. Do you know if he or his attorney
16 Q. So this spreadsheet alone does not                  16 attempted to submit documents to be considered
17 tell you whether there's be a POCR violation           17 in making a custody decision?
18 for Mr Confid does it?                                 18 A. I do not know.
19 A. No.    ti l                                         19
20 Q. Does ICE still intend to remove                     20        (Exhibit No. 18 marked for
21 Mr. Confid after July 22nd?                            21 identification.)
22 A. tiAsl far as I know, yes. I would have              22
23 to review the case, look at it, see what's             23 BY MS. SEWALL:
24 going on with it.                                      24 Q. Do you recognize -- sorry.
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                                           Transcript of Marcos Charles                              78 (309 to 312)

                                           Conducted on July 16, 2019
                                                       309                                                      3
1        The court reporter has handed you                   1     A. I'm sorry, can you repeat that?
2 what's been marked as Exhibit 18.                          2     Q. The second photograph states, "You are
3        Do you recognize this document?                     3 a citizen and national of El Salvador who
4     A. I do not.                                           4 entered the United States in an unknown
5     Q. This is a notice to alien of file                   5 location, on unknown date, without having been
6 custody review for Confidential PII        ,               6 admitted or paroled after inspection by an
7 correct?                                                   7 immigration officer. You are subject to a
8     A. Correct.                                            8 final order removal issued on September 25,
9     Q. It states that Mr. Confid custody                   9 2014."
10 review would take place ential
                             on or about May 7,              10       Do you see that?
11 2019, correct?                                            11    A.  I do.
12 A. Correct.                                               12 Q. And then the next paragraph says, "On
13 Q. And if you go to the spreadsheet for                   13 review of the facts of your case, including
14 Mr. Confi -- it's the about the sixth row                 14 your criminal convictions, I have determined
15 downd -- tihis POCR was conducted on May 1, 2019,         15 you would pose a risk to public safety if you
16 correct?                                                  16 were to be released from ICE custody."
17 A. Yes.                                                   17       Do you see that?
18 Q. It's about six days before it was                      18 A. I do.
19 noticed for?                                              19 Q. This does not mention that Mr. Confi is
20 A. Correct.                                                                                          d ti
                                                             20 married to a United States citizen, correct?
21 Q. Was Mr. Conf informed that his review                  21 A. Correct.
22 would take placeidearly?                                  22 Q. It does not mention that he has a
23 A. I don't know.                                          23 pending I-130 and I-212 application,
24 Q. Was his attorney informed that his                     24 correct?
                                                       3 0                                                      3 2
1 review would take place early?                             1     A. Correct.
2     A. I don't know.                                       2     Q. Was that considered in determining
3                                                            3  whether   to continue his detention?
4         (Exhibit No. 19 marked for                         4     A. I don't know.
5 identification.)                                           5     Q. Did ICE Boston know about his pending
6                                                            6 I-130 and I-212 applications when it decided
7 BY MS. SEWALL:                                             7 to continue to detain him?
8     Q. The court reporter has handed you                   8     A. I don't know. That wouldn't be put
9 what's been marked Exhibit 19.                             9 into a decision to continue detention anyway.
10        Do you recognize this document?                    10 Q. What wouldn't be put into a decision
11 A. (Witness reviews document.)                            11 to continue detention?
12        No.                                                12 A. That information.
13 Q. This is a decision to continue                         13 Q. Why not?
14 detention for Mr. Confi correct?                          14 A. Because it's a decision to continue
15 A. Correct. d ti                                          15 detention, not a -- not a release
16 Q. The second and third paragraphs                        16 notification.
17 contain the reasons for the continued                     17 Q. So a decision to continue detention
18 decision --                                               18 would never reference the fact that somebody
19 A. Okay.                                                  19 had filed -- had a pending or -- a pending
20 Q. -- is that right?                                      20 I-130 or 212 application?
21 A. Yes.                                                   21 A. Never.
22 Q. It's -- it says, "You are a United                     22
23 States citizen and national of El Salvador who            23        (Exhibit No. 20 marked for
24 entered the United States in an un --                     24 identification.)
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